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                                                                   FILED: November 2, 2011


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                            No. 07-4059 (L)
                                        (8:04-cr-00235-RWT-3)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                       Defendant - Appellant

                                        ___________________

                                              No. 07-4060
                                        (8:04-cr-00235-RWT-1)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        PAULETTE MARTIN, a/k/a Paulette Murphy, a/k/a Paulette Akuffo, a/k/a Paula
        Murphy, a/k/a Auntie

                       Defendant - Appellant
Appeal: 07-4059     Document: 349-2     Date Filed: 11/02/2011   Page: 2 of 4
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                                             No. 07-4062
                                       (8:04-cr-00235-RWT-10)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LANORA N. ALI, a/k/a La Nora Ali-Gardner

                       Defendant - Appellant

                                        ___________________

                                              No. 07-4063
                                        (8:04-cr-00235-RWT-6)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        REECE COLEMAN WHITING, JR., a/k/a Guy Counts, a/k/a Cups, a/k/a Dino
        Whiting

                       Defendant – Appellant
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                                              No. 07-4080
                                        (8:04-cr-00235-RWT-7)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        DERREK LEWIS BYNUM, a/k/a Bo

                       Defendant - Appellant

                                        ___________________

                                              No. 07-4115
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant – Appellant
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                                       ___________________

                                         JUDGMENT
                                       ___________________

              In accordance with the decision of this court, the judgment of the district

        court is affirmed in part and vacated in part. This case is remanded to the district

        court for further proceedings consistent with the court's decision.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.



                                                /s/ PATRICIA S. CONNOR, CLERK
